     Case 2:21-cv-04405-RGK-MAR Document 85-19 Filed 03/09/22 Page 1 of 2 Page ID
                                      #:1349



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10
     Attorneys for Defendants
11   UNITED STATES OF AMERICA, et al.
12                            UNITED STATES DISTRICT COURT
13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15 PAUL SNITKO, JENNIFER SNIKO,                Case No. 2:21-cv-04405-RGK-MAR
   JOSEPH RUIZ, TYLER GOTHIER,
16 JENI VERDON-PEARSONS,                       DECLARATION OF VICTOR A.
   MICHAEL STORC, and TRAVIS                   RODGERS IN OPPOSITION TO
17 MAY,                                        PLAINTIFFS’ MOTION TO COMPEL
                                               DISCOVERY RESPONSES AND
18              Plaintiffs,                    ENTER PROTECTIVE ORDER
19                     v.                      (Filed Concurrently with Plaintiffs’ Notice
                                               of Motion to Compel; Parties’ Rule 37-2
20 UNITED STATES OF AMERICA. ET                Joint Stipulation; Proposed Protective
   AL.,                                        Order; and Proposed Order)
21
            Defendants.                        [DISCOVERY MATTER]
22
                                               Date:                  March 30, 2022
23                                             Time:                 10:00 a.m.
                                               Courtroom:             790, the Honorable
24                                                                    Margo A. Rocconi
                                               Discovery Cutoff date:       None set
25                                             Pre-Trial Conference date: None set
                                               Trial Date:                  July 26, 2022
26                                             Complaint/FAC Filed: 5/27/21 and 6/9/21
27
28
     Case 2:21-cv-04405-RGK-MAR Document 85-19 Filed 03/09/22 Page 2 of 2 Page ID
                                      #:1350



1          I, Victor A. Rodgers, declare:
2          1.     I am one of the Assistant United States Attorneys assigned to the
3    representation of the defendants in this action. I have personal and first-hand knowledge
4    of the facts in this declaration and, if called upon to testify, could and would testify
5    competently hereto.
6          2.     Attached hereto as Exhibit A is a true and correct copy of the stipulated
7    protective order I provided to plaintiffs’ counsel on January 27, 2022.
8          3.     Attached hereto as Exhibit B is a true and correct copy of the stipulated
9    protective order I downloaded from the Court’s website and used as a model to create the
10   government’s stipulated protective order for this case that I provided to plaintiffs’
11   counsel on January 27, 2022.
12         4.     Attached hereto as Exhibit C is docket no. 35 (preliminary injunction
13   motion) in the Mellein’s case.
14         5.     Attached hereto as Exhibit D is docket no. 35-1 [plaintiffs’ attorney in
15   Mellein case’s declaration].
16         6.     Attached hereto as Exhibit E is docket no. 54 [notice of dismissal] in the
17   Mellein case.
18         7.     I have been told by a boxholder, through the boxholder’s attorney, that the
19   boxholder does not want the government to reveal the boxholder’s identity to plaintiffs’
20   counsel.
21         I declare under penalty of perjury under the laws of the United States that the
22   foregoing is true and correct.
23         Executed on March 7, 2022 at Los Angeles, California.
24                                                                  /s/
                                                           Victor A. Rodgers
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27
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